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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 18-cv-20049-KMW/EGT

  DIONYS BEJERANO,                         )
  JORGE L. GRANADOS MILLAN, and            )
  all others similarly situated under 29   )
                                           )
  U.S.C. 216(b),                           )
                                           )
                  Plaintiffs,              )
        vs.                                )
                                           )
  FLEX FLORIDA CORP.                       )
  d/b/a BEST AWNINGS and                   )
                                           )
  FELIX G. ARBUCIAS,
                Defendants.
  _____________________________________/


              ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL

        This matter came before the Court on Plaintiff’s Motion To Compel that was

  heard at the discovery hearing conducted August 24, 2018. The Court announced

  its rulings and reasoning on the motion at the hearing. This Order is intended to

  memorialize those rulings on the docket.      Accordingly, it is ORDERED AND

  ADJUDGED that said Motion to Compel is Granted as follows:

     1. Alex Trigo shall appear for Deposition Dcues Tecum in accordance with this

        Order and produce all documents in accordance with the subpoena

        previously served on him that are in his possession, custody, and

        control, at Plaintiff’s Counsel’s Office, J. H. Zidell, P.A., 300 71st Street,

        Suite 605, Miami Beach, Florida 33141, on September 12, 2018 at 10:00 a.m.
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        2. Furthermore, Alex Trigo shall reimburse Plaintiff’s Counsel c/o J.H. Zidell,

           P.A.’ Operating Account the amount of $202.00 as costs incurred due to Alex

           Trigo’s failure to appear at his properly noticed deposition as well as his

           failure to timely seek relief from the Court in advance of the deposition date.

        3. No fees were assessed as requested in the motion. But if Alex Trigo fails to

           comply with this Order, all fees that preceded the filing of the motion, as well

           as any fees and costs incurred for additional motions for contempt as a means

           of enforcing the Court’s Order, shall be assessed against Alex Trigo in favor of

           Plaintiff and Plaintiff’s counsel, J.H. Zidell, P.A.

        4. Alex Trigo’s failure to comply with this Order may also result in the entry of

           additional relief, including holding Alex Trigo in contempt of Court or any

           other measures necessary to enforce the Court’s jurisdiction.

        DONE AND ORDERED in chambers in Miami-Dade, Florida, on this 5th day

  of September, 2018.


                                              ___________________________________
                                              EDWIN G. TORRES
                                              United States Magistrate Judge

  cc:      All Counsel of Record
           Alex Trigo (to be served by Plaintiff)
